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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
                                                                               Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                          NOTICE OF DOCKETING - Short Form
September 23, 2022

To: Gina M. Colletti
    Clerk of Court

The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                Appellate Case No: 22-2704

                Caption:
                WILLIAM FEEHAN,
                         Plaintiff - Appellee

                v.

                TONY EVERS, in his official capacity as Wisconsin's Governor,
                        Defendant - Appellant
                District Court No: 2:20-cv-01771-PP
                District Judge Pamela Pepper
                Clerk/Agency Rep Gina M. Colletti
                Date NOA filed in District Court: 09/23/2022
If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form        (form ID: 188)




            Case 2:20-cv-01771-PP Filed 09/23/22 Page 1 of 1 Document 117
